993 F.2d 229
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin SLADE, Plaintiff-Appellant,v.MANAGER, ALMOST-A-BANC, Defendant-Appellee.
    No. 93-6151.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 27, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.  (CA-93-55-N)
      Calvin Slade, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Calvin Slade appeals from the district court's order that denied his action under the Freedom of Information Act, 5 U.S.C. § 552 (1988), to compel the Defendant to produce documents related to his criminal trial.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Slade v. Manager, Almost-A-Banc, No. CA-93-55-N (E.D. Va.  Jan. 28, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    